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                                                         December 22, 2022



VIA EMAIL & ECF
The Honorable Rya Zobel
John Joseph Moakley United States Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02110

                                      United States v. Lieber
                                      1:20 -cr-10111 (RWZ)

Dear Judge Zobel:

        This letter is respectfully submitted to request an adjustment of the sentencing date for
Charles Lieber, which, earlier today, was scheduled for March 2, 2023. We do not seek to delay
this proceeding, and are willing to proceed on an earlier date, subject to the scheduling constraints
set forth below.

         I am getting married on February 25, 2023, and am scheduled to be away on my
honeymoon between March 1, 2023 and March 10, 2023. My partner, Torrey Young, who is
critical to this matter, is unavailable between February 16, 2023 and February 21, 2023. If it
pleases the Court, we are happy to proceed on February 15, 2023, February 22, 2023, or shortly
after I return in mid-March 2023. The government assents to this request, and we will be sensitive
to their schedules as well.

        Our apologies for this inconvenience.

                                                         Respectfully submitted,

                                                          /s/ Marc L. Mukasey
                                                         Torrey K. Young
                                                         Stephanie Guaba

                                                         Counsel for Defendant Charles Lieber

cc:    All Counsel (by ECF)
       Maria D’Addieco, USP
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                                CERTIFICATION OF SERVICE

        I hereby certify that on December 22, 2022, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the Court’s CM/ECF System.

Dated: New York, New York
       December 22, 2022

                                                       /s/ Marc L. Mukasey
                                                       Marc L. Mukasey
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